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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

DEMETRIA MARIE BARRETT,

     Plaintiff,                                 Case No. 3:17-cv-3251-B

v.

MEDICREDIT, INC.,

      Defendant.

                                   SUGGESTIONS OF DEATH

         Defendant Medicredit, Inc. (“Medicredit”), pursuant to F.R.C.P. 25, files Suggestions of

Death:

         1.       Medicredit suggests that on or about December 18, 2017, Plaintiff Demetria

Marie Barrett died.

         2.       Based upon undersigned counsel’s research, no estate or other probate matter was

opened for Mr. Barrett.

         3.       However, a Facebook video posted on Wednesday, December 20, 2017, by an

“Octavia Fussell a/k/a Shelia Parson” states that “Demetria Marie Parsons Barrett” died on

“Monday evening”, which date was December 18, 2017.1 The individual in that video also states

that “Demetria Marie Parsons Barrett” lived in Texas.

         4.       Defendant also knows Plaintiff to have gone by the name “Demetria Parsons

Barrett.”

Dated: December 5, 2018.



1
 The video in question is available at:
https://www.facebook.com/sheliafussell/videos/1573901326032113/.
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                                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certificate that on December 5, 2018, a true and accurate copy of the foregoing

was served on all counsel of record by the Court’s CM/ECF system.


                                                          s/Jacob F. Hollars
                                                          Jacob F. Hollars




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